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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                            )
                                        Plaintiff,   )
                                                     )
v.                                                   )   Case No. 3:18-cv-03047
                                                     )
LESLIE A. WULF, et al.,                              )
                                     Defendants.     )

PLAINTIFF’S RESISTANCE TO “NONPARTIES” (NELSONS’) MOTION TO QUASH
                SUBPOENAS OR FOR PROTECTIVE ORDER

         Plaintiff, VeroBlue Farms USA, Inc. (“VBF”) for its Resistance to the Motion

(“Motion”) to Quash Subpoenas (“Subpoenas”) or for Protective Order [Dkt. 41-1] submitted by

“Nonparties” Grace Nelson, Mark Nelson, Jeff Nelson, Jerita Nelson, Korrine Nelson, and SNB

Farms Partnership (individually, “Grace,” “Mark,” “Jeff,” “Jerita,” “Korrine” and “SNB” or

collectively, the “Nelsons”) states as follows:

I.       INTRODUCTION

         The Nelsons are critical witnesses in this case. In 2014, they sold their Iowa-based fish

farm to the Defendants. That fish farm became VBF. The Nelsons are VBF shareholders and

they have been VBF employees for years. The Nelsons unfortunately have taken a starkly

similar approach to the Subpoenas directed to them as the Defendants have taken to the ten

subpoenas directed to them that are the subject of Defendants’ pending Motion to Quash or for

Protective Order [Dkt. 37-1] (“Defendants’ Motion”), to which VBF has responded. [Dkt. 42.]

The Nelsons repeat the tactics and arguments of the Defendants, such as: (1) the Nelsons failed

to conduct any meet and confer before filing their Motion, requiring denial of their Motion for

that reason alone; (2) the Nelsons seek to quash all of the Subpoenas to them, in their entirety,

while raising a relevance objection addressed to only several of the requests as going to the
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Bankruptcy Case1; and (3) the Nelsons claim privilege, but provide no privilege log. VBF will

not repeat all of the arguments of its Resistance to Defendants’ Motion that also go to the

Nelsons’ Motion, but will only summarize them here. The Nelsons also raise an objection that

the Subpoenas are overbroad and unduly burdensome, something that a genuine meet and confer

would have resolved (and the requests are not overbroad). For the reasons set forth in this

Resistance, VBF not only seeks a denial of the Motion, but also all of its reasonable attorney’s

fees in resisting the Motion.

           As stated, the Nelsons repeat the Defendants’ meritless privilege objections. Therefore,

VBF will also expose how the Nelsons’ and Defendants’ claims of privilege are based on

misrepresentations either to this Court or the Bankruptcy Court in VBF’s pending Bankruptcy

Case. In this case, the Nelsons and the Defendants (collectively, the “Movants”) claim that the

Defendants are members of the so-called “Ad Hoc Equityholder’s Committee” (“AHC”) in the

Bankruptcy Case, and therefore are entitled to shield communications between the

Defendants/their counsel and AHC counsel (which includes Horwood Marcus and Berk,

“HMB,” and Beecher, Field, “Beecher”). In the Bankruptcy Case, however, the AHC has

asserted, under oath, to the Bankruptcy Court that the Defendants are not AHC members. It

appears that Movants are not telling the truth to at least one court. As explained further on March

13, 2019, AHC counsel John Guzzardo of HMB admitted as follows about the claims of

privilege by Defendants and the Nelsons in this case: “The information or the statements in

the …District Court Motion to Quash are not correct.”

II.        BACKGROUND OMITTED BY THE NELSONS

           Pursuant to a December 31, 2014 Purchase Agreement, Jeff, Jerita, Mark, and Korrine,

1
    This Resistance will use all defined terms of VBF’s Resistance to Defendants’ Motion unless otherwise stated.




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sold their fish farm business (including assets of their entity, SNB) to VBF. (Exhibit A,

McCowan Declaration, ¶ 1.) Thereafter, Mark worked for VBF as its Director of Special

Projects from on or about January 10, 2015 through on or about October 21, 2018. (Id. at ¶ 2.)

Jeff worked for VBF in “Special Projects,” and Grace worked for VBF as its Production Quality

& Planning Manager, during roughly the same time period. (Id.) Mark, Jeff, and Grace are also

VBF shareholders. (Id.)

       During VBF’s early years, Mark promoted VBF and its technology, which ultimately

proved to be an utter failure. (Id. at ¶ 3, citing a presentation given by Mark referencing VBF,

and making certain representations regarding VBF metrics that proved untrue, starting at the

“End Result: Exceeding Expectations” section of the presentation, just after the 17:08 mark:

https://www.youtube.com/watch?v=XA609zQBAo8.) The Defendants misrepresented this

technology to investors and others. (Id.)

       Mark also has significant other information about the Defendants’ fraud. For example,

Mark’s daughter, Kelsey Clarken (“Kelsey”), submitted an affidavit in which she corroborates

the Defendants’ fraudulent hiring of Defendant Wulf’s daughter, Christine Gagne, an illegal

alien improperly placed on VBF’s payroll, and Kelsey avers that Mark knew all about this

situation. (Exhibit B, Kelsey’s Affidavit, ¶¶ 6-14.) (This scheme is alleged in VBF’s First

Amended Complaint, Dkt. 9 at ¶¶ 29-32.) Kelsey also averred to the Defendants’ manipulation

of data concerning key aquaculture (VBF’s industry) metrics, one of the schemes employed by

Defendants to accomplish their $81,000,000 fraud. (Exhibit B at ¶ 18.) Kelsey also testified to

the Defendants’ other improper expenditures of VBF funds. (Id. at ¶¶ 20-21.) Kelsey

corroborates her father Mark’s knowledge about Defendants’ other businesses, and that he has

been asked by Defendants to partner with Defendants. (Id. at ¶ 22.)



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       Kelsey’s affidavit testifies to one of the Defendants’ repeated tactics, to attack those who

were trying to expose Defendants’ misconduct. (See e.g., Exhibit B at ¶ 14.) The Defendants

did so again, targeting a representative of Alder Aqua, Ltd. (“Alder”), the single largest victim of

Defendants’ fraud (losing tens of millions of dollars), when Alder began exposing Defendants’

fraud. The Defendants defamed Alder’s representative by unfairly accusing him of sexual

harassment, disparagement that was exposed as false by Mark, Grace, Jeff, Korrine, Jerita, and

other Nelsons in their March 2018 letter, portions of which state as follows (referring to the

Defendants as the “Dallas Group” or “con artists”):

       We are writing this letter to convey messages to you that we feel like over the
       course of the last two years, have been lost in translation, or perhaps were never
       translated at all. As a family who feels the pains and joys of being in business
       together so deeply, we felt we needed to reach out to you in hopes that you will
       understand our sincerity and truthfulness. Nothing is more painful than feeling
       like your name, your dignity, and your dedication, has been conformed to a
       group of con artists….

       We truly feel that the Dallas group lied, manipulated, and took advantage of
       not only our family’s good will, but the good will of our many friends and
       community members who invested their hard-earned money into this
       business.

       … From very early on in our venture with the Dallas group, we felt our
       knowledge, information, and expertise was ignored, dismissed, and even hid from
       you, your team, and members of the board. However, it wasn’t until after these
       individuals were terminated that we fully understood the magnitude of their
       corruption and deceitfulness. It was a betrayal unlike any other.

       It’s important for us to place emphasis on the fact that because we live in a small,
       rural community, it has been and will be our reputation on the line. To many,
       VeroBlue Farms is the Nelson family. When bills are not paid to local vendors,
       these businesses call Jeff or Mark. The Nelsons are a century old farm in
       Hamilton County, meaning many of these relationships go back over decades and
       decades. Unfortunately, it won’t be the Dallas group who must worry about
       rebuilding trust and repute amongst the community, it will be our family. We’ve
       built such strong relationships with our employees and co-workers because it is
       what comes natural for us. When we bring these people into our homes for
       holidays, spot them a couple hundred dollars to make it until payday, or simply
       treat them like they are a part of our family, it is because we genuinely care.
       VeroBlue Farms has employed some of the hardest, most dedicated workers a

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       company could have. As we let more and more employees go, we are mourning
       with them, but also mourning the loss of something we all felt so proud to call our
       own. Many of these people uprooted their whole lives to move to Iowa to
       accomplish a common dream. Just like us, they were lied to and manipulated
       by the Dallas group. Just like the Nelsons, they were ignored, pushed aside, and
       even fired for wanting to convince the Dallas partners of the VeroBlue Farms
       business model reality.

       Mark’s personal statement: When I was in Australia with Jens, I was able to
       have a one on one conversation in the lobby at the hotel with Jens. During this
       conversation, Jens and I spoke specifically about Jens questioning Grace while in
       the Iowa office, which had happened a few weeks previously. I felt that Jens and
       I had come to a mutual and sincere understanding of what had happened. I felt
       like the conversation resulted in both of us truly respecting each other’s point of
       view. In the weeks that followed the Australia trip, the Dallas group pursued a
       sexual harassment case against Jens. As I stated in my deposition, I never
       witnessed or heard Jens say anything inappropriate to the females in the Iowa
       office. Knowing what I know now, I deeply regret being blinded by the fact
       that the Dallas group was using this situation to hide their deceits.

       Grace’s personal statement: An hour prior to Jens speaking with me in private
       in the Iowa office, I was pulled aside by Ted Rea and Eric Simms. The purpose
       of their conversation was to inform me that Jens was a “sexual predator” and that
       I must be aware of this and careful to let him near me. I was terrified. They told
       me he was a professional interrogator. I truly believe that this situation skewed
       my perception of Jens’ character. I know I was manipulated and tricked so that
       everyone else would be distracted from the bigger and more pressing issue. I
       deeply wish I could go back and change my perception of the situation knowing
       what I know now. It has never, ever been in my nature to maliciously go after
       someone else’s reputation and I believe many can attest to that fact. My sister,
       Kelsey, knew from the very beginning this was a diversion tactic by the Dallas
       group, but felt her reputation and job would be in jeopardy if she spoke up.
       Especially, after she was required to fire Randi Hagen in the week leading up to
       the board’s visit. I believe Jens wanted some honest answers that he knew were
       being hid from him.

(Exhibit A at ¶ 5, Attachment A-1) (emphasis added). These harassment allegations are

irrelevant to VBF’s case, and have nothing to do with the Defendants’ misappropriation and

squandering of about $81,000,000 of debt and equity investment in VBF (except to show

Defendants’ tactics when they fear exposure of their misconduct). Defendants’ shamefully

repeat this defamatory allegation in their filings in this case. [See e.g., Dkt. 37-1 at 2, where

Defendants’ blame their departure from VBF on their false allegations, rather than their loss of

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$81,000,000; Dkt. 19-1 at 2, same allegation.] But exposure of Defendants’ scorched-earth

tactics is useful to show Defendants’ modus operandi, and includes the Defendants’ attempted

manipulation and subterfuge in the Bankruptcy Case, as further documented in VBF’s Resistance

to Defendants’ Motion. [Dkt. 42 at 4-6.]

       There is other support for the Nelsons’ extensive knowledge of the rise and fall of VBF,

too voluminous to list here. Indeed, the Nelsons have perhaps been involved in the VBF fiasco

longer than anyone.

       In December 2018, VBF counsel was set to informally interview the Nelsons, with their

counsel. (See Exhibit C, emails between counsel.) Unfortunately, that interview never occurred.

Instead, the Nelsons, through counsel, initially agreed to provide information to VBF,

cooperatively, in response to subpoenas in this case. (See Exhibit D, further counsel emails.)

The Nelsons’ counsel even agreed to accept service of the Subpoenas. (Id. where counsel states:

“If you have any formal requests of Mark or Jeff you may direct them to me and we will do our

best to respond promptly.”) Then, counsel initially attempted to renege on this agreement to

accept service of the Subpoenas. (See Exhibit E.) Counsel to the AHC advised VBF that Mark

and Jeff joined the AHC in February 2019. (Id. at ¶ 4.) After that event, the Nelsons changed

their tune and now refuse to comply with their Subpoenas. This paints the picture of witnesses

who have something to hide.

III.   THE SUBPOENAS

       The Subpoenas request far more than the Nelsons’ communications with Defendants’

counsel or counsel to the AHC, seeking all documents and communications relating to VBF,

regarding VBF’s current complaint (“Complaint”), all documents and communications with

Defendants, all witness statements (in any format), all documents and communications with



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current or former VBF employees, and any audio-visual recordings or data relating to VBF (and

it is quite likely that the Nelsons will have a lot of audio-visual data given their extensive

involvement with VBF).

IV.    THE NELSONS’ FAILURE TO MEET AND CONFER IS FATAL TO THEIR
       MOTION

       The Nelsons filed their Motion at approximately 3:54 P.M. on March 1, 2019. [Dkt. 41-

1.] There was no attempt to meet and confer until just after noon that same day, where their

counsel left a voice-mail and email for VBF counsel. (Exhibit F, counsel’s email.) Counsel’s

email establishes the Nelsons’ violation of meet and confer requirements, and unfortunate

duplication of the Defendants’ tactics:

       Rob:

       This email follows my voicemail to you a few minutes ago. My firm represents non-
       parties SNB Farms Partnership, Grace Nelson, Mark Nelson, Jeff Nelson, Jerita Nelson,
       and Korrine Nelson with respect to the subpoenas issued by you on behalf of your client,
       VeroBlue Farms USA, Inc. (VBF) in the Northern District of Iowa litigation, Case
       No. 18-cv-03047. As indicated on my voicemail, we have drafted a motion to quash the
       subpoenas, along similar grounds as the motion to quash filed by Bruce Hall, et al. on
       February 24, 2019 (Dkt. No. 37).

       Pursuant to Local Rule 7(k), I am reaching out to personally confer, and request that VBF
       withdraw the subpoenas to my clients. If you would like to discuss, please reach out to
       me directly at one of the numbers below. We plan to file our motion shortly after 3:00 pm
       this afternoon.

(Exhibit E.)

       VBF’s position that Local Rule 37 applies here is set forth in its Resistance to

Defendants’ Motion [Dkt. 42 at 10-11]. Local Rule 37 specifically addresses and rejects half-

hearted meet and confer attempts such as the Nelsons’: “[a]n exchange of written

communications or a single telephone message will not, by itself, satisfy the requirements of this

section.” That is precisely all the Nelsons did here, “a single telephone message” and “exchange



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[of one] written communication[],” a mere hours before filing the Motion. Regardless, the

Nelsons violated Local Rule 7(k) even if Local Rule 37 did not apply to the Motion.

       The obvious implication is that the Nelsons, given their wealth of knowledge and

discoverable information, ignored meet and confer requirements because they did not want to

produce anything. Regardless, Local Rules 7(k) and 37 require no inquiry into the Nelsons’

motive for failing to adhere to well-known requirements to genuinely meet and confer. The

undisputed fact is that they did not do so, requiring a denial of the Motion for this reason alone.

V.     THE NELSONS’ RELEVANCE OBJECTION IS WITHOUT MERIT

       The Nelsons never actually claim in their Motion that they do not possess data responsive

to the Subpoenas, including information that has nothing to do with their communications with

Bankruptcy counsel, nor could they do so in good faith. The Nelsons’ first argument is similar to

Defendants’ in their Motion, that all requests of the Subpoenas seek irrelevant information and

VBF is trying to seek discovery for the Bankruptcy Case through this case. That argument is

addressed by VBF in its resistance to Defendants’ Motion. [Dkt. 42 at 4-6 and at 11-14.] The

Nelsons’ relevance argument, given their undisputed and central involvement in VBF from

“cradle to grave,” is as meritless as the Defendants’ same argument.

       Worse yet, the Nelsons’ Motion contains demonstrably false allegations. For example,

the Nelsons represent to the Court that “[t]he only vague reference to the District Court case” in

the Subpoenas “is in a broadly worded request for ‘all communications relating to the

Complaint.” [Dkt. 41-1 at 7.] Besides that referenced request, which is not vague since it is

directed at the well-pleaded Complaint (Request No. 2), the following requests seek documents

without reference or limitation to the Bankruptcy Case: No. 1 (relating to VBF), No. 3 (relating

to Defendants), No. 4 (communications with Defendants’ counsel), No. 7 (witness statements),



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No. 15 (communications with current or former VBF employees), and No. 16 (audio-visual

recordings relating to VBF). [See e.g. Dkt. 41-2 at 3-4, and the Subpoenas all contain the same

requests.] Like the Defendants, the Nelsons’ “Bankruptcy Case objection” has no applicability

to these requests. And, the Nelsons did not even join the AHC until February 11, 2019, and

therefore the “Bankruptcy Case objection” could only be limited to documents generated after

that time period.

       Regardless, the Bankruptcy Case objection is frivolous, as addressed in VBF’s Resistance

to Defendants’ Motion. [Dkt. 42 at 4-6 and at 11-14.] The AHC has schemed with Defendants

about this case. The reality is that the Nelsons, the AHC, and the Defendants all have something

to hide, which is why they are so desperately and spuriously fighting to avoid any production.

VI.    THE SUBPOENAS ARE NOT OVERBROAD

       The Nelsons generally assert that the Subpoenas (issued on February 15 with a March 1

compliance date) did not provide sufficient time to respond, seek sensitive documents, and do

not have time limitations. None of these objections are well-grounded, and none would support

the wholesale quashing of the Subpoenas in their entirety. Further, none of these objections

would have survived a genuine meet and confer.

       If the Nelsons wanted a reasonable extension to respond, they could have asked for that

extension. They never did so because they are not interested in good faith compliance, just delay

and obfuscation. Similarly, if the Nelsons are concerned about confidentiality, they could have

sought an agreed protective order from VBF, but they never did so for the same reasons. Finally,

the absence of time limitations is of no import. VBF was only founded in September 2014 [Dkt.

42 at 17] and therefore there is a natural time limitation on the requests.




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VII.   THE NELSONS ALSO WAIVED PRIVILEGE OBJECTIONS

       Like the Defendants, the Nelsons chose to ignore the well-known process to preserve

privilege that would have started with their submission of a privilege log instead of a Motion to

Quash partly based on “privilege.” [Dkt. 42 at 18-19.] Accordingly, the Nelsons waived

privilege. [Id.] Further, the Defendants’ and the Nelsons’ assertion of privilege is frivolous, and

even if not frivolous could only apply to a time period of somewhere in or well after December

2018 through the present. What about the other four to five years of information sought by the

Subpoenas? The Motion consistently ignores this question since the vast majority of the

Subpoena requests seek documents previous to this short window of alleged privileged

communications.

VIII. FURTHER, THE MOVANTS HAVE APPARENTLY MISREPRESENTED
      FACTS TO SUPPORT THEIR MERITLESS PRIVILEGE CLAIMS

       In Defendants’ Motion, Defendants assert that that the Defendants are AHC members to

shield communications by and between the Defendants/their counsel and AHC counsel, the

Creditors’ Committee Counsel, and other members of the AHC (as the subpoenas attacked in the

February 24, 2019 Defendants’ Motion include those to AHC and Creditors Committee Counsel

and Turk, Lockard, and FishDish, who are alleged AHC representatives). Thus, Defendants

assert the following in Defendants’ Motion, that Defendants are AHC members to support a

claim of common privilege with other AHC member, and their counsel, which would include the

Nelsons and their counsel: “As VBF is aware, FishDish and Kenneth Lockard are members of

the Equityholders’ Committee, along with Defendants.” [Dkt. 37-1 at 11, emphasis added.]

       However, in a February 27, 2019 verified statement submitted to the Bankruptcy Court,

AHC counsel (Aaron Hammer of HMB) represented the following, under oath, to the

Bankruptcy Court: “None of the Founding Shareholders are members of the Equity Committee


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or have consented to jurisdiction of the Court for any purpose.” [Dkt. 42-1 at p. 151, ¶ 5,

verified statement of Aaron L. Hammer, specifically stated under penalties of perjury.]

       Similarly, Defendants, in Defendants’ Motion, also represent that HMB and Beecher, and

the AHC and other clients they represent (including FishDish and Lockard as to Beecher), are

aligned. [Dkt. 37-1 at 10: “[S]ince December 18, 2018, Defendants have been members of the

Equityholders’ Committee that HMB and the Beecher Firm now represent, therefore, all

communications related to the Equityholders’ Committee’s investigation of VBF and its

challenges to VBF’s reorganization plan are also privileged.”] In Bankruptcy Court, however,

AHC counsel Hammer of HMB verified under oath and penalties of perjury, asserted that the

interests of Defendants have diverged from other members of the AHC (referring to Defendants

as the “Founders”): “When it became apparent that (a) the interests of the other equity holders in

the Debtors needed to be protected; and (b) that the Founders’ interests in the bankruptcy case

required a different course of action, the Founders referred Mr. Kenneth Lockard of FishDish

LLC to HMB.” [Exhibit F, March 12, 2019 filing in Bankruptcy Case by AHC.] [See also, Dkt.

42-1 at p. 150, ¶ 1, which certifies under oath that “Exhibit A” thereto lists all AHC members,

and Exhibit A, at pp. 154-158, does not list the Defendants as AHC members.]

       VBF’s Subpoenas to the Nelsons also seek communications between the Defendants/their

counsel and the Nelsons, other AHC members, and/or AHC counsel and the Nelsons have

asserted privilege similarly to the Defendants. [Dkt. 41-1 at 2, 8-9.] Such spurious privilege

claims would certainly be rejected even if Defendants and the Nelsons had preserved privilege

objections by submitting a log, which they failed to do. Regardless, these circumstances show

that there really were not privileged communications to protect anyway, at least not to the extent




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represented in Defendants’ and the Nelsons’ Motions.2

         On March 13, 2019, John Guzzardo, Mr. Hammer’s partner at HMB, as counsel for the

AHC, represented the following to the Bankruptcy Court about the Defendants’ assertions in

their Motion to Quash that HMB continues to be the Defendants’ counsel: “The information or

the statements in the …District Court Motion to Quash are not correct.” When asked by the

Bankruptcy Court whether the Defendants have corrected the incorrect allegations made to this

Court, Mr. Guzzardo replied “[n]ot to my knowledge.” At this time, VBF only has the audio of

this hearing, but will supplement with relevant excerpts from the written transcript of the

hearing. This exchange can be found at the 53:12-54:40 mark of this audio:

https://spmb.filetransfers.net/downloadPublic/wnmcystb0sbid08.

         Later, the Bankruptcy Court asked Mr. Guzzardo of HMB to further explain the

Defendants’ role in the Bankruptcy Case, if any, when the AHC has represented to that court that

the Defendants are not involved in that case. Mr. Guzzardo stated that “there have been

communications with the Founders and they are a source of factual information for us as to we

continue to prosecute claims and try to defend the interests of minority shareholders in this case.”

Id. at 1:05-1:08 mark (referring to the Defendants as the “Founders”).

         These admissions are significant for numerous reasons: (1) AHC counsel HMB, who the

Defendants (and essentially the Nelsons) claim to represent them for purposes of privilege, have

2
 And even if there were, these circumstances, along with the circumstances of Defendants’ underlying misconduct,
certainly would raise the crime/fraud exception to the privilege if it were properly asserted and preserved. See e.g.,
In re Berkley & Co., Inc., 629 F. 2d 548, 552 (8th Cir. 1980) (citations omitted):

         There is, however, an equally well-established exception to the privilege. Attorney-client communications
         lose their privileged character when the lawyer is consulted not with respect to past wrongdoings but rather
         to further a continuing or contemplated criminal or fraudulent scheme. . . “The privilege takes flight if the
         relation is abused.” The government is not required to prove the existence of a crime or fraud in order to
         overcome a claim of privilege. Rather, a prima facie showing that the legal advice was obtained in
         furtherance of illegal or fraudulent activity is sufficient to secure disclosure.




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represented to another branch of this Court (the Bankruptcy Court) that those allegations are

“incorrect” (false). This corroborates the contradictions pointed out above by VBF in filings in

this case and the Bankruptcy Case; (2) VBF’s subpoena to HMB is not only attacked in

Defendants’ Motion to Quash, but the Nelsons also claim joint privilege as to communications

with HMB, even if those communications also include the Defendants [Dkt. 41-1 at 3, 9]; and (3)

it corroborates the high relevance of Defendants’ communications with the Nelsons, HMB,

Beecher, Lockard, FishDish and others whose subpoenas by VBF have been attacked by the

Defendants’ Motion and the Nelsons’ Motion-the Defendants are an active source of

information to those parties, only supporting the high relevance of the information to be sought

through such subpoenas.

IX.    VBF IS ENTITLED TO ITS REASONABLE ATTORNEY’S FEES

       The Nelsons, after agreeing to accept service of the Subpoenas and to cooperate with

them, initially tried to dodge service, failed to meet and confer, failed to proffer a privilege log,

and have sought to quash each and every request of all the Subpoenas even though the Nelsons’

arguments clearly do not address all requests, even if such arguments had merit. The Nelsons are

AHC members, have used that status to claim privilege similar to Defendants, and therefore are

subject to bound by the apparent misrepresentations either to this Court or the Bankruptcy Court

as to Defendants’ membership on the AHC, or lack thereof, depending on the circumstances at

hand and the courtroom.

       Under these circumstances, and to gain the Nelsons compliance with discovery rules in

the future, the Nelsons should be required to pay all of Plaintiff’s reasonable attorney’s fees in

resisting the Motion. See e.g., American Seeds, LLC v. Watson, No., 2010 WL 3843002, *1-2

(D.S.D. Sept. 27, 2010) (the courts have “inherent authority to impose sanctions that are



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necessary to deter frivolous filings and ensure compliance with subpoenas issued in the Court’s

name” and assessing attorney’s fees against movant on unsuccessful motion to quash subpoenas)

and citing U.S. v. Gonzalez-Lopez, 403 F. 3d 558, 564 (8th Cir. 2005); Rotoworks Int’l Ltd v.

Grassworks USA, Inc., No. 2007 WL 1364911, *1 (W.D. Ark. May 8, 2007) (sanctioning

movant for protective order in part due to the failure to hold a genuine meet and confer before

filing the motion: “The lack of cooperation evidenced by such actions is not favored by the

Court. The Court again emphasizes the duty of the parties to fully cooperate in the discovery

process and to proceed, in good faith, where reasonably able, without court intervention.”). If

allowed, Plaintiff will submit a fee petition.

       WHEREFORE, Plaintiff respectfully requests that the Court deny the Motion [Dkt. 41-

1], award Plaintiff all of its reasonable attorney’s fees in resisting the Motion, and for such other

and further relief deemed just.

                                                              VEROBLUE FARMS USA, INC.


                                                              /s/ Robert H. Lang
                                                              One of its Attorneys



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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

VEROBLUE FARMS USA, INC.,                         )
                                     Plaintiff,   )
                                                  )
v.                                                )   Case No. 3:18-cv-03047-LTS
                                                  )
LESLIE A. WULE, BRUCE A. HALL,                    )
JAMES REA, JOHN E. REA, AND KEITH                 )
DRIVER,,                                          )
                          Defendants..            )

                                   NOTICE OF FILING

       PLEASE TAKE NOTICE that on March 15, 2019, we caused to be filed with the
Northern District of Iowa, Central Division, Plaintiff’s Resistance to “NonParties” (Nelsons’)
Motion to Quash Subpoenas or For Protective Order, a copy of which is attached hereto and
hereby served upon you.

                                                  Respectfully submitted,

                                                  VEROBLUE FARMS USA, INC


                                                  /s/ Robert H. Lang
                                                  One of its Attorneys

Matthew E. Laughlin AT0004515                     Robert H. Lang
Holly M. Logan AT0004710                          Renato Mariotti
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                              CERTIFICATE OF SERVICE

        Arianna Thornton, a non-attorney, hereby certifies under penalties as provided by law,
that on March 15, 2019, she caused a true and correct copy of the foregoing Plaintiff’s
Resistance to “NonParties” (Nelsons’) Motion to Quash Subpoenas or For Protective Order
to be served upon counsel of record via ECF system of Iowa:


                                                                 /s/ Arianna Thornton
